      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 1 of 42




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                                   3/29/2022

KEITH STANSELL, et al.,
                                            Plaintiffs,                          16-MC-00405 (LGS)(SN)

                          -against-                                                  REPORT AND
                                                                                  RECOMMENDATION
REVOLUTIONARY ARMED FORCES OF
COLOMBIA (FARC), et al.,
                                             Defendants.
----------------------------------------------------------------- X
----------------------------------------------------------------- X
OLIVIA PESCATORE, et al.,
                                             Plaintiffs,

                          -against-

JUVENAL OVIDIO RICARDO PALMERA
PIENDA, et al.,
                         Defendants.
-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge.

TO THE HONORABLE LORNA G. SCHOFIELD:

        For more than a decade, Antonio Caballero, the Stansell family, and the Pescatore family

have sought redress for the abuses inflicted on them and their families by Fuerzas Armadas

Revolucionarias de Colombia (“FARC”), the Ejercito de Liberacion Nacional (the “ELN”), and

the El Norte del Valle Cartel (the “NDVC”). They have obtained judgments against these groups

under the Antiterrorism Act (“ATA”) and now seek to satisfy those judgments. These efforts

have brought these judgment holders into conflict.

        The Stansells and Pescatores (who have combined their collection efforts)1 registered


1
  Not all of these plaintiffs are members of the Stansell or Pescatore family. However, their eponymous cases have
been consolidated into a single proceeding and they have worked together to collect their judgments. Accordingly,
the Court refers to this group as the “Stansells and Pescatores” for simplicity.
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 2 of 42




their judgments in this District and, through the Terrorism Risk Insurance Act (“TRIA”), sought

the turnover of assets of purported FARC agents and instrumentalities. Caballero intervened, also

seeking to satisfy his judgment with these assets. In response, the third parties holding those

accounts sought interpleader relief, naming the Stansells, Pescatores, and Caballero as

defendants. They, in turn, answered and crossclaimed against each other. Each judgment holder

seek a declaratory judgment finding that their ATA judgment is valid while their opponents’ is

not. Their arguments also implicate issues raised by Samark Jose Lopez Bello and the Yakima

Trading Corporation (“Yakima”), third party asset holders affected by the turnovers.

       Both sides succeed in defending their own judgments but fail in attacking their

opponents’. Accordingly, the Court recommends entering a declaratory judgment that

Caballero’s judgment is not void as a matter of law, that Caballero is entitled to collect both the

economic and non-economic compensatory damages awarded to him, and that Stansells and

Pescatores may collect their entire ATA judgments as compensatory damages under TRIA’s

provisions. To the degree that the parties’ crossclaims are inconsistent with this judgment, the

Court recommends that they be dismissed.

                                         BACKGROUND

       Two elements are necessary to understand this matter’s intertwined procedural and

factual background: the history of the parties’ judgments and the present proceeding that brought

these judgment creditors into conflict. The Court addresses each in turn. The relevant facts are

uncontested. The Court has, where appropriate, taken judicial notice of the court records of the

cases related to this one. See, e.g., Jianjun Lou v. Trutex, Inc., 872 F. Supp. 2d 344, 350

(S.D.N.Y. 2012)(“In the Rule 12(b)(6) context, a court may take judicial notice of prior




                                                 2
           Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 3 of 42




     pleadings, orders, judgments, and other related documents that appear in the court records of

     prior litigation and that relate to the case sub judice.”) (quoting Ferrari v. Cnty. of Suffolk, 790 F.

     Supp. 2d 34, 38 n.4 (E.D.N.Y. 2011)) (internal quotations omitted).

I.      The Judgments

        A. The Stansells’ and Pescatores’ Judgments

            The Stansells and Pescatores were both victims of FARC’s brutality. In February 2003,

     Keith Stansell, Marc Gonsalves, Thomas Howes, and Thomas Janis were flying an anti-drug

     mission in Colombia when they were shot down by FARC. All four survived, but Janis was

     killed by FARC shortly after landing. Stansell, Gonsalves, and Howes were held hostage for

     more than five years. Stansell v. Revolutionary Armed Forces of Colombia, No. 09-cv-2308

     (RAL), 2010 WL 11507790, at *1 (M.D. Fla. June 14, 2010) (“Stansell I”).

            They and their families sued FARC under the private cause of action created by the ATA.

     See 18 U.S.C. § 2333(a) (“§ 2333(a)”). In June 2010, they obtained a judgment in the Middle

     District of Florida after FARC defaulted. After trebling the damages as required by the ATA,

     Stansell, Gonsalves, and Howes each received awards of $74,010,000. Janis’s spouse Judith was

     awarded $36,000,000, and each of Janis’s four children was awarded $15,000,000. The total

     judgment is $318,030,000. Id. at *4.

            The Stansell Plaintiffs later received a declaratory judgment in the Southern District of

     Florida finding that the full Stansell I award was “for compensatory damages.” Stansell v.

     Revolutionary Armed Forces of Columbia, No. 19-cv-20896 (RNS), 2020 WL 4692748, at *2

     (S.D. Fla. July 16, 2020) (“Stansell II”). A few months later, Lopez Bello intervened in the

     original Stansell proceeding in the Middle District of Florida “to remove references to

     compensatory damages” through a motion under Federal Rule of Civil Procedure 60(a). Stansell



                                                       3
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 4 of 42




et al. v. Revolutionary Armed Forces of Colombia et al., No. 09-cv-2308 (CEH), ECF No. 1222

at 5 (“Stansell III”). That motion was denied. Id. at 5.

       Frank Pescatore was kidnapped by FARC forces commanded by Palmera Pineda in 1996.

They sought to ransom him, but later killed him when he attempted to escape. Undeterred, FARC

applied make-up to make him appear alive and continued to seek a ransom. When it was not

paid, they disposed of his body. Pescatore et al., v. Palmera Pineda et al., 345 F. Supp. 3d 68, 70

(D.D.C. 2018). His family obtained a default judgment in which his widow received $5,000,000,

his father and four children received $3,000,000 each, and his three siblings received $1,000,000

each. The total award, after each of these were trebled, came to $69,000,000. Id. at 78.

   B. Caballero’s Judgments

       Like the Stansells and Pescatores, Caballero’s family was devastated by FARC violence.

Caballero’s father, Carlos, was a leading Columbian politician, former ambassador to the United

Nations, and outspoken critic of drug trafficking. He also owned land along a trafficking route,

so to deter resistance among local landowners, the ELN kidnapped him. FARC and the ELN then

tortured him for six months before executing him. They made threats against Caballero as well,

forcing him to flee to the United States. Caballero v. FARC, No. 18-cv-25337 (KMM), 2020 WL

7481302, at *1 (S.D. Fla. May 20, 2020) (“Caballero III”).

       On these tragic facts, Caballero secured two judgments. First, in 2012, he sued FARC,

the ELN, and the NDVC, in the Eleventh Judicial Circuit Court of Florida, alleging violations of

the Alien Tort Statute (“ATS”), the federal and Florida versions of the Civil Racketeer

Influenced and Corrupt Organizations (“RICO”) statutes, and Columbian law. Caballero v.

FARC et al., No. 12-48803-CA-02 (LSW), 2014 WL 12956651, at *1 (Fla. Cir. Ct. May 02,

2014) (“Caballero I”). The defendants did not appear, and a default was entered in December



                                                  4
       Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 5 of 42




2013. Id. Five months later, the defendants were found liable for every violation alleged. Id. A

final judgment was issued in November 2014. Caballero v. FARC et al., No. 12-48803-CA-02,

2014 WL 12956652 (Fla. Cir. Ct. Nov. 18, 2014) (“Caballero II”). At the time, Caballero was a

resident alien. Caballero I, 2014 WL 12956651, at *3.

        Then, in 2018, Caballero, now a U.S. citizen, brought claims against FARC and the

NDVC under the ATA. Caballero III, 2020 WL 7481302, at *2. Again, neither FARC nor the

NDVC appeared, and, drawing on the facts of his state court action, Caballero secured a default

judgment against both. Id. at *7. The Caballero III court followed Caballero II on the question of

damages as well, awarding $45,000,000 in non-economic damages, and $1,729,667 in economic

damages, both of which were trebled as required by the ATA. Id. The Stansells and Pescatores

attempted to intervene in that proceeding, but their motion was denied. Caballero v. ELN et al.,

No. 18-cv-25337 (KMM), 2019 WL 11505371 (S.D. Fla. June 27, 2019) (“Caballero IV”).

        Since then, Caballero has obtained turnover motions based on this judgment in other

courts. See, e.g., Caballero v. FARC et al., No. 21-cv-11393 (IT), 2021 WL 4477436 (D. Mass.

Sept. 30, 2021).

 II.    This Proceeding

        The present dispute arose after the Stansells and Pescatores registered their judgments in

this District and sought to initiate turnover proceedings. Their targets are several accounts held

by third-party garnishees Citibank, N.A. (“Citibank), Sumitomo Mitsui Banking Corporation

(“Sumitomo Mitsui”), and Equiniti Trust Company (“Equiniti”). These accounts are blocked by

the United States Department of the Treasury Office of Foreign Assets Control (“OFAC”).

Blocked assets of foreign terrorist organizations (e.g., FARC) as well as their agencies and




                                                 5
         Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 6 of 42




instrumentalities2 are subject to attachment and execution under Section 201(a) of the Terrorism

Risk Insurance Act of 2002, Pub. L. 107-297, codified at 28 U.S.C. § 1610 note (“TRIA §

201(a)”).

           The Stansells registered their judgment in this District on November 11, 2016. ECF No.

5. 3 The Pescatores followed two years later. Pescatore, ECF No. 1. After registering their

judgments, they filled turnover motions under TRIA § 201(a)).

           Caballero entered the picture on December 30, 2020, and announced his intention to seek

the same assets. ECF No. 124. With multiple parties targeting these accounts, the garnishees

sought interpleader relief. Equiniti filed the first interpleader complaint, then Citibank and

Sumitomo Mitsui followed suit. Some of these complaints were later amended. Caballero and the

Stansells and Pescatores answered, crossclaiming against each other, and answering their

crossclaims. The full set of complaints, with their associated answers and crossclaims is

catalogued in Table 1 in Appendix A.

           Despite the volume of activity, the claims and counterclaims of the Stansells, Pescatores,

and Caballero turn on similar arguments. The Stansells and Pescatores (whether in their original

answers and crossclaims, ECF Nos. 251 at 42, 252 at 37, 253 at 37, 254 at 36, 255 at 34, 256 at

40, 257 at 33, 310 at 34, or subsequent amended answers and crossclaims, ECF Nos. 268 at 39,

269 at 43, 270 at 38, 271 at 38, 272 at 35, 273 at 41, 279 at 15, 318 at 15, 390 at 15) assert that

Caballero’s judgment is void because the Caballero III court lacked personal and subject matter

jurisdiction. Alternatively, they argue that Caballero has satisfied his judgment based on what




2
 Some third parties are challenging their designation as agencies and instrumentalities of FARC. ECF No. 294 at 2
n.3. The Court takes no opinion on those designations or challenges at this time.
3
    Unless otherwise noted, all ECF citations are to Stansell v. FARC, No. 16-mc-0405.


                                                          6
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 7 of 42




damages he may collect under the ATA. They seek a declaratory judgment that confirms these

points and that holds, as did Stansell II, that their ATA judgments are entirely for compensatory

damages.

       Caballero, meanwhile, asserts that he has not attached the assets at issue in certain

instances, ECF Nos. 258 at 8, but primarily argues that the Stansells and Pescatores have

obtained all the compensatory damages they may collect under TRIA. ECF Nos. 261 at 21, 262

at 23, 263 at 22, 264 at 22, 266 at 21, 301 at 21, 376 at 23. Based on that, he seeks a declaratory

judgment that the Stansells and Pescatores have exhausted what they may collect and that he is

the only party who may attached and execute his judgment on the accounts.

       The Stansells and Pescatores brought the dispute to a head in July 2021, filing a motion

to resolve their claims for declaratory judgment. ECF No. 330. Caballero, in addition to

defending against those claims, filed a motion to dismiss the crossclaims. ECF No. 348; see also

ECF No. 367. The parties exchanged one further salvo of letters over the import of a decision on

Caballero’s judgments in the Central District of California. See ECF Nos. 421, 422, 433.

                                          DISCUSSION

       The Court addresses these claims and crossclaims by beginning with the preliminaries,

satisfying itself of its own subject matter jurisdiction and determining the proper procedural

framework. Then, it turns to the Stansells’ and Pescatores’ challenges to Caballero’s judgment. It

finishes with Caballero’s challenges to the Stansells’ and Pescatores’ judgments. Where

necessary, this last analysis incorporates Lopez Bello’s challenges as well.

I.   The Court Has Subject Matter Jurisdiction Over This Dispute

       Before delving into the parties’ claims, the Court must satisfy itself that it has subject

matter jurisdiction over this proceeding. Caballero has argued that the Stansells and Pescatores



                                                 7
       Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 8 of 42




 “cannot credibly allege that this Court has subject matter jurisdiction over their Crossclaims,”

 ECF No. 348 at 14, and in any case, courts have an independent obligation to ensure their

 jurisdiction. Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 434 (2011).

         This, however, need not delay the Court long. The federal question jurisdiction grant at

 28 U.S.C. § 1331 supports subject matter jurisdiction here. The Stansells and Pescatore have

 alleged a federal law claim under TRIA § 201(a) to support their turnover motions. See, e.g.,

 Doe v. ELN et al., No. 15-cv-8652 (LTS), 2017 WL 591193, at *1 (S.D.N.Y. Feb. 14, 2017),

 aff’d sub nom. Doe v. JPMorgan Chase Bank, N.A., 899 F.3d 152 (2d Cir. 2018) (finding that 28

 U.S.C. § 1331 provides jurisdiction over turnover proceedings brought under TRIA). Their

 crossclaims against Caballero also seeks a declaratory judgment based on federal law claims: the

 interpretation of the validity and scope of Caballero’s judgment under 18 U.S.C. § 2333(a) of the

 ATA. Claims premised on that federal statute are sufficient to invoke federal question

 jurisdiction.

II.    Motions for Judgment on the Pleadings and Failure to State a Claim Provide the
       Proper Framework for Adjudicating This Dispute

         With subject matter jurisdiction addressed, the next step is to identify the proper

 procedural framework for resolving this dispute. Caballero moves to dismiss the claims against

 him under Rule 12(b)(6). The Stansells and Pescatores have proffered four procedural

 mechanisms for relief: a declaratory judgment under the Declaratory Judgment Act (codified at

 28 U.S.C. §§ 2201 et seq.), relief from a judgment under Rule 60(b)(4), judgment on the

 pleadings under Federal Rule 12(c), or summary judgment under Federal Rule 56. ECF No. 331

 at 14–15. Practicality and economy urges that their motion be treated as one for judgment on the

 pleadings under Federal Rule 12(c).




                                                   8
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 9 of 42




        The first two mechanisms the Stansells and Pescatores suggest cannot supply the

necessary procedural framework. “An action for a declaratory judgment is ‘an ordinary civil

action.’” Int’l Bhd. of Teamsters v. E. Conf. of Teamsters, 160 F.R.D. 452, 455–56 (S.D.N.Y.

1995) (quoting 10A Charles A. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice

and Procedure § 2768 (1983)). “Because an action for a declaratory judgment is an ordinary civil

action, a party may not make a motion for declaratory relief, but rather, the party must bring an

action for a declaratory judgment.” Int’l Bhd. of Teamsters, 160 F.R.D. at 456. Federal Rule 57,

in turn, subjects declaratory judgment actions to the normal Federal Rules of Civil Procedure.

Thus, an action for a declaratory judgment supplies the destination, but not the procedural

framework to get there.

        Rule 60(b) is not the proper vehicle either. This Rule permits a court to “relieve a party

or its legal representative from a final judgment . . . .” Fed. R. Civ. P. 60(b) (emphasis added).

The Stansells and Pescatores do not and could not claim that they were parties to Caballero III.

Alternatively, Rule 60(b) relief is available to a nonparty in “extraordinary circumstances in

which a non-party had interests on which the outcome of the proceedings had significant

consequences . . . yet those interests had not been adequately represented during litigation,

because of the peculiar structure of [the] case.” Irvin v. Harris, 944 F.3d 63, 70 (2d Cir. 2019)

(quoting Federman v. Artzt, 339 F. App’x 31, 34 (2d Cir. 2009)) (internal quotations omitted)

(alteration in original).

        The Stansells and Pescatores do not claim that extraordinary circumstances are present

nor does the Court find any. At its root, this proceeding is about two parties who hold judgments

against the same debtor. This is common; it is not an “extraordinary circumstance” that permits a

nonparty to bring a Rule 60(b) motion.



                                                  9
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 10 of 42




        That leaves Rule 12(c) or Rule 56. Since actions for declaratory judgments are ordinary

civil actions, either may be appropriate. See, e.g., Lucas v. Plan. Bd. of Town of LaGrange, 7 F.

Supp. 2d 310, 319 (S.D.N.Y. 1998) (“[A]s a threshold matter, we must determine whether Rule

56 or Rule 12 should govern defendants’ motion for declaratory judgement.”) Caballero’s

argument otherwise is unavailing. He suggests that neither mechanism is viable because they

cannot be used to adjudicate “pre-judgment” issues such as the validity of his judgment, only

“post-judgment” issues such as the priority of creditors. ECF No. 348 at 9–11. He offers no

authority for the proposition that the scope of Rules 12 and 56 are so limited. This argument is

further undercut by Weininger v. Castro, where a court in this District used summary judgment

as a vehicle to assess the validity of underlying judgments in a TRIA proceeding. 462 F. Supp.

2d 457, 467, 467 (S.D.N.Y. 2006).

        The availability of these procedural mechanisms is also a necessary implication of a

court’s ability to test foreign courts’ subject matter jurisdiction. “[B]efore a court is bound by the

judgment rendered in another State, it may inquire into the jurisdictional basis of the foreign

court’s decree.” Underwriters Nat. Assur. Co. v. N. Carolina Life & Acc. & Health Ins. Guar.

Ass’n, 455 U.S. 691, 705 (1982). Indeed, in certain cases, such as proceedings against foreign

sovereigns, district courts are obligated to test the jurisdictional sufficiency of foreign courts’

default judgments. See, e.g., Vera v. Republic of Cuba, 867 F.3d 310, 318 (2d Cir. 2017) (“The

District Court thus erred . . . in relying on the Florida court’s findings of fact as the basis for its

jurisdiction . . . those findings would not bind or aid the District Court, which was required to

analyze the record independently . . . .”)

        Since the obligation to test jurisdiction exists, there must be a mechanism parties can use

to bring such a challenge. Rule 60(b), as noted, could not be employed for this purpose without



                                                   10
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 11 of 42




the “exceptional circumstances” exception swallowing the rule. Instead, Rules 12 and 56 provide

the appropriate procedure for a party to make a collateral attack on jurisdiction in an interpleader

proceeding like this. The practice of courts in this District further confirms the analysis. See, e.g.,

Levin v. Bank of New York Mellon, No. 09-cv-5900 (JPO), 2019 WL 564341, at *2 (S.D.N.Y.

Feb. 12, 2019) (plaintiffs and third-party defendants in TRIA interpleader case used motion for

summary judgment to resolve the dispute); Weininger, 462 F. Supp. 2d at 467 (same).

       The question then is whether Rule 12 or 56 is the appropriate framework here, as the

Stansell and Pescatores have moved under both. Practicality urges that this be treated as a Rule

12 motion. In the first place, “the standard for granting a Rule 12(c) motion for judgment on the

pleadings is identical to that for granting a Rule 12(b)(6) motion for failure to state a claim.”

Lively v. WAFRA Inv. Advisory Grp., Inc., 6 F.4th 293, 301 (2d Cir. 2021) (quoting Lynch v.

City of New York, 952 F.3d 67, 75 (2d Cir. 2020)).

       Treating this as a Rule 12(c) motion thus permits the motions of Caballero, the Stansells,

and Pescatores to be dealt with under the same rubric. This is desirable because these motions

are basically mirror images of the same legal questions on the same set of uncontested facts. The

Stansells and Pescatores want a judgment declaring that they can collect the full scope of their

judgments and that Caballero’s judgment is invalid. Caballero wants to dismiss their crossclaims

as a matter of law on the grounds that his judgment is valid and that the Stansells and Pescatores

have collected what they can under TRIA §201(a). Resolving the legal questions in one motion

answers them for the other so it makes sense to handle them in comparable frameworks.

       Other considerations further urge the use of Rule 12. Where a court has the choice of

proceeding under Rule 12 or Rule 56 “converting a Rule 12(c) motion to one for summary

judgment is particularly inappropriate where material factual disputes remain, and relevant facts



                                                  11
        Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 12 of 42




may be unearthed during discovery.” Delgado v. City of New York, No. 19-cv-6320 (JPC), 2021

WL 2473817, at *6 (S.D.N.Y. June 17, 2021), 2021 WL 2473817, at *6. The parties have not

suggested a need for additional discovery but, as both their underlying judgments will be intact at

the end of this Report and Recommendation, it is possible that they will have further disputes for

which discovery is useful. Finally, Judge Schofield’s individual rules provide that “[a]bsent good

cause, the Court ordinarily will not have summary judgment practice in a non-jury case.”

Individual Rules and Procedures For Civil Cases, Lorna G. Schofield, § III.C.6. Given the

availability of Rule 12, the Court does not find good cause to have summary judgment practice

here.

         Having determined that judgment on the pleadings is the appropriate framework, the

question remains whether the Court ought to, in its discretion, exercise jurisdiction over this

declaratory judgment action. It answers the question in the affirmative. “The Declaratory

Judgment Act by its express terms vests a district court with discretion to determine whether it

will exert jurisdiction over a proposed declaratory action or not.” Dow Jones & Co. v. Harrods

Ltd., 346 F.3d 357, 359 (2d Cir. 2003). Determining whether to exercise this discretion involves:

                [A] simple test that asks . . . whether the judgment will serve a useful
                purpose in clarifying or settling the legal issues involved . . . whether
                a judgment would finalize the controversy and offer relief from
                uncertainty . . . whether the proposed remedy is being used merely
                for procedural fencing or a race to res judicata . . . whether the use
                of a declaratory judgment would increase friction between sovereign
                legal systems or improperly encroach on the domain of a state or
                foreign court; and . . . whether there is a better or more effective
                remedy.

Id. at 359–60 (internal quotations omitted).

         These factors urge that this declaratory judgment action be entertained. This case is about

whether Caballero, the Stansells, and the Pescatores are entitled to various funds held by third

parties and, if so, the priority and amount of their entitlements. This declaratory judgment will

                                                   12
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 13 of 42




clarify these entitlements and remove uncertainty about who may maintain claims on these

accounts. There is no better or more effective way to address the issue so requesting its

resolution is no frivolous act of procedural sparing. Since it is only federal judgments, and not

Caballero’s state judgment, being inquired into, the Court need not fear offending Florida’s

sovereignty either.

       In sum, the appropriate procedural framework for the declaratory judgment sought by the

Stansells and Pescatores is a motion for judgment on the pleadings under Rule 12(c) while

Caballero’s motion will be one for dismissal for failure to state a claim under Rule 12(b)(6).

Exercising jurisdiction over this declaratory judgment action is an appropriate use of the Court’s

discretion.

       All that remains to flesh out the procedural framework is to recall the standard for these

motions, which are the inverse of each other. “To survive a Rule 12(c) motion, [the plaintiff’s]

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Lively, 6 F.4th at 301. (quoting Hayden v. Paterson, 594 F.3d 150, 160 (2d

Cir. 2010)) (alteration in original) (internal quotations in original). Conversely, under Rule

12(b)(6), a “complaint may be dismissed where it appears beyond doubt that the plaintiff can

prove no set of facts in support of his claim which would entitle him to relief.” Oteze Fowlkes v.

Adamec, 432 F.3d 90, 95 (2d Cir. 2005) (quoting Hernandez v. Coughlin, 18 F.3d 133, 136 (2d

Cir. 1994)) (internal quotations omitted). As noted, there are no material factual disputes here,

only legal ones.




                                                  13
       Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 14 of 42




III.   Caballero Holds a Valid or Otherwise Unchallengeable ATA Judgment

         The preliminaries handled, the Court turns to the challenges to Caballero’s judgment. It

  begins with the applicability of res judicata, followed by the jurisdictional challenges, and

  concluding with the argument that Caballero’s judgment has been satisfied.

         Before addressing those points, the Court notes that Caballero also requested to be

  dismissed from one of the specific interpleader actions on the grounds that he has not attached

  the assets associated that complaint. ECF No. 348 at 50. His dismissal from that action is

  properly addressed in a later opinion considering the rights and obligations of the parties in that

  action. Moreover, there is no practical impact to dismissing the Stansells’ and Pescatores’ claims

  against him for that specific complaint. The Stansells and Pescatores have raised identical

  challenges to Caballero’s judgments in each of their crossclaims, and those challenges do not

  turn on the attributes of the underlying complaint. Or, to put it another way, it does not matter

  whether the Court opines on the validity of Caballero III eight times or nine. Accordingly, the

  Court does not reach Caballero’s dismissal argument here.

         A. Res Judicata Cannot Resolve this Dispute

         The Court cannot invoke res judicata to short-circuit this dispute. “The preclusive effect

  of a judgment is defined by claim preclusion and issue preclusion, which are collectively referred

  to as ‘res judicata.’” Taylor v. Sturgell, 553 U.S. 880, 892 (2008). “Issue preclusion,” the

  doctrine relevant here, “bars successive litigation of an issue of fact or law actually litigated and

  resolved in a valid court determination essential to the prior judgment, even if the issue recurs in

  the context of a different claim.” Id. (quoting New Hampshire v. Maine, 532 U.S. 742, 748–49

  (2001)) (internal quotations omitted).




                                                    14
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 15 of 42




        But “[a] person who was not a party to a suit generally has not had [the] ‘full and fair

opportunity to litigate’ the claims and issues settled in that suit” necessary to bring this doctrine

to bear. Sturgell, 553 U.S. at 892. Caballero, the Stansells, and the Pescatores have never actually

litigated the validity of Caballero III against each other: the Stansells’ and Pescatores’ attempt to

intervene in that proceeding was denied. Caballero IV, 2019 WL 11505371 at *4.

        There are exceptions to this rule that permit a nonparty to be bound by a judgment, such

as an agreement by the nonparty or a “substantive legal relationship” between the party to be

bound and the party to a judgment. Sturgell, 553 U.S. at 894. The parties have not proffered any

such exceptions here. Without them, the Court hews to the general rule that issue preclusion is

not applicable where, as here, the party to bound (i.e., the Stansells and Pescatores) was not party

to the original Caballero III judgment.

        B. The Caballero III Court Had Subject Matter Jurisdiction Over Caballero’s Suit

        The parties spend considerable time on whether the Caballero III court had subject matter

jurisdiction under 18 U.S.C. § 2333(a) based on a dispute over the statutory element that the

victim or claimant must a U.S. national. Lost in this debate is the grant of federal question

subject matter jurisdiction at 28 U.S.C. § 1331. This provides that “district courts shall have

original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the

United States” regardless of whether the plaintiff can prove each element of the federal claim.

        Caballero III is a “civil action[] arising under the . . . laws . . . of the United States.” As

the Court of Appeals for the Seventh Circuit noted, where a “claim rests on a federal cause of

action in § 2333(a) . . . [it] therefore arises under federal law within the meaning of 28 U.S.C. §

1331. That is enough to confer federal subject matter jurisdiction on the district court.” Boim v.

Am. Muslims for Palestine, 9 F.4th 545, 557 (7th Cir. 2021) (internal citation omitted). Courts in



                                                   15
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 16 of 42




this District have found likewise. See, e.g., O’Sullivan v. Deutsche Bank AG, No. 17-cv-8709

(LTS)(GWG), 2019 WL 1409446, at *1 (S.D.N.Y. Mar. 28, 2019).

        The Court is aware of no decision in the Eleventh Circuit or the Southern District of

Florida that would have either outright barred or compellingly challenged a decision by the

Caballero III court to rest on the same jurisdictional grant. Indeed, multiple courts in the

Southern District of Florida have used 28 U.S.C. § 1331 as the basis for their subject matter

jurisdiction over ATA actions. See, e.g., Weinstock v. Abu Marzook, No. 17-cv-23202 (RNS),

2019 WL 1470245, at *2 (S.D. Fla. Apr. 3, 2019)(“Plaintiffs bring this civil action for damages

under a federal statute, 18 U.S.C. § 2333 . . . Thus, this Court has original subject matter

jurisdiction under 28 U.S.C. § 1331.”) (“Weinstock I”); Weinstock v. Islamic Republic of Iran,

No. 17-cv-23272 (RNS), 2019 WL 1993778, at *1 (S.D. Fla. May 6, 2019) (same) (“Weinstock

II”). The Court of Appeals for the Eleventh Circuit has not conclusively opined on the question

but in Bernath v. Am. Legion, it analyzed subject mattered jurisdiction for an ATA claim based,

in part, on the viability of federal question jurisdiction at 28 U.S.C. § 1331 without any

suggestion that such jurisdiction is impermissible, even if it was unavailable to the specific

claimant before them. 704 F. App’x 917, 917 (11th Cir. 2017).

        Accordingly, the Court finds no reason to challenge the Caballero III court’s subject

matter jurisdiction. Because subject matter jurisdiction is available under 28 U.S.C. § 1331, the

Court need not consider whether it is separately available under § 2333(a).4 Even after

confirming jurisdiction based on 28 U.S.C § 1331, the Court finally considers whether its subject



4
  Courts in this District and elsewhere have used the ATA as the basis for subject matter jurisdiction. See, e.g.,
Sokolow v. Palestine Liberation Org., 583 F. Supp. 2d 451, 455 (S.D.N.Y. 2008) (“The ATA bestows subject matter
jurisdiction upon the federal courts . . .”); Rubin v. Hamas-Islamic Resistance Movement, No. CIV.A. 02-0975
(RMU), 2004 WL 2216489, at *2 (D.D.C. Sept. 27, 2004) (“The applicable statue to determine subject matter
jurisdiction is the Anti-Terrorism Act . . . .”)


                                                        16
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 17 of 42




matter jurisdiction is statutorily limited to cases where each of the elements of a § 2333(a)

claim—such as the U.S. national status of a claimant—are satisfied.

        The Supreme Court’s guidance strongly counsels against finding such a limitation. It has

consistently “insisted that statutory limitations should not be understood to limit the subject

matter jurisdiction of the courts unless that is the ‘clearly’ stated intention of the statute.” United

States v. Prado, 933 F.3d 121, 135 (2d Cir. 2019) (citing Shinseki, 562 U.S. 428, Reed Elsevier,

Inc. v. Muchnick, 559 U.S. 154 (2010), and Arbaugh v. Y&H Corp., 546 U.S. 500 (2006)). This

“requirement of a clear statement is justified by the ‘unfairness and waste of judicial resources . .

. entailed in tying [a] requirement to subject–matter jurisdiction.’” Prado, 933 F.3d at 135

(quoting Arbaugh, 546 U.S. at 515) (alterations in original). “When a statutory requirement is

treated as an obstacle to the court’s subject matter jurisdiction, the court’s jurisdiction may be

challenged for the first time and new arguments raised long after the court has entered

judgment.” Prado, 933 F.3d at 135.

        Nothing in § 2333(a) contains this clear jurisdictional limitation. It provides that:

                Any national of the United States injured in his or her person,
                property, or business by reason of an act of international terrorism,
                or his or her estate, survivors, or heirs, may sue therefor in any
                appropriate district court of the United States and shall recover
                threefold the damages he or she sustains and the cost of the suit,
                including attorney’s fees.

18 U.S.C. § 2333(a). In Prado, the Second Circuit noted that, where Congress intended to cabin

federal courts’ subject matter jurisdiction, one would expect text like “notwithstanding [the

relevant subject matter statute]” or “notwithstanding any other provision of law.” 933 F.3d at

135. None of those phrases, nor anything resembling them, exists in § 2333(a).

        Indeed, the only clear limitation on subject matter jurisdiction contained in the ATA is at

18 U.S.C. § 2338, which gives federal district courts exclusive jurisdiction over ATA actions.


                                                  17
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 18 of 42




Far from cabining subject matter jurisdiction under 28 U.S.C. § 1331 though, courts in this

District and the Southern District of Florida have read the two in concert so that the combination

of these statutes grants federal question subject matter jurisdiction. See, e.g., Deutsche Bank AG,

2019 WL 1409446, at *1, Weinstock I, 2019 WL 1470245, at *2, Weinstock II, 2019 WL

1993778, at *1.

        Moreover, the ATA lacks the familiar text conferring subject matter jurisdiction: “[t]he

district courts . . . shall have . . . jurisdiction of [a specified category of case] . . . . ” Prado, 933

F.3d at 141 n.11 (collecting statues conferring subject matter jurisdiction). Without this

language, and given the Supreme Court’s guidance not to find subject matter jurisdiction

limitations without a clear statutory command, the Court finds that the ATA does not limit a

court’s ability to obtain subject matter jurisdiction under 28 U.S.C. § 1331. Since this also

provides a jurisdictional basis for Caballero III, the Court finds that Caballero III is not void for

lack of subject matter jurisdiction.

        The Stansells and Pescatores argue unpersuasively that this interpretation renders §

2333(a) absurd. ECF No. 422 at 3. True, “[a]ll laws should receive a sensible construction” and

“general terms should be so limited in their application as not to lead to injustice, oppression, or

an absurd consequence.” United States v. Kirby, 74 U.S. 482, 486 (1868). Yet “where, as here,

the words of the statute are unambiguous, the judicial inquiry is complete.” Desert Palace, Inc. v.

Costa, 539 U.S. 90, 98 (2003) (quoting Connecticut Nat. Bank v. Germain, 503 U.S. 249, 254

(1992)) (internal quotations omitted). Nothing in the text suggests that Congress intended §

2333(a) to limit subject matter jurisdiction.

        The statutory framework, moreover, is quite sensible. The apparent irrationality flagged

by the Stansells and Pescatores is that refusing to ascribe jurisdictional significance to § 2333(a):



                                                     18
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 19 of 42




               absurdly allows foreign nationals to sue for a terrorist attack after
               they become American nationals even if other American nationals
               that were harmed from the same act of terrorism are barred by the
               statute of limitations in 18 U.S.C. § 2335. For example, if a mother
               was murdered by terrorists and had two children, one with American
               citizenship and one without, the American child would be barred
               from bringing claims after 10-years. Yet, according to Caballero’s
               reasoning, the foreign sibling would not be barred from bringing an
               ATA claim for the same murder as long as the foreign sibling
               brought claims within 10-years after becoming an American, even
               if this occurred decades later.

ECF No. 422 at 3.

       There is nothing particularly absurd about this. The intimation is that a naturalized

foreigner is better treated because they have more time to bring an ATA claim than someone

who is an American national. Yet, the party arguably facing the most stinging injustice is the

child without American citizenship who would be unable to use the ATA to sue the terrorists for

the harms he has suffered from the death of his mother. See, e.g., Lelchook v. Islamic Republic

of Iran, No. 16-cv-7078 (ILG), 2020 WL 12656283, at *4 (E.D.N.Y. Nov. 23, 2020) (“The ATA

does not include language authorizing foreign nationals to bring ATA claims in a U.S. court for

their own injuries caused by an act of international terrorism.”)

       Certainly, if that child eventually became an American, he would have more time from

the date of the incident than the child who started as a citizen, but given the challenge of suing as

years pass (fading memory, lost witnesses, missing documents) it does not seem outrageous that

they have more time to remedy these gaps. The American child, by contrast, could sue the very

day the attack occurs or anytime in the next decade. There is no absurdity in this result, much

less absurdity so significant that the Court need read jurisdictional significance into § 2333(a).




                                                 19
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 20 of 42




        C. The Stansells and Pescatores Lack Standing to Challenge to Caballero III on
           Personal Jurisdiction Grounds

        The Stansells and Pescatores lack standing to challenge Caballero III for lack of personal

jurisdiction. Subject matter jurisdiction is nearly sui generis in its capacity to be “raised at any

time, even on appeal, and even by the court sua sponte.” Guggenheim Cap., LLC v. Birnbaum,

722 F.3d 444, 449 (2d Cir. 2013) (quoting Cave v. E. Meadow Union Free Sch. Dist., 514 F.3d

240, 250 (2d Cir. 2008)) (internal quotations omitted). Also, “because [subject matter

jurisdiction] involves a court’s power to hear a case, [it] can never be forfeited or waived.”

United States v. Cotton, 535 U.S. 625, 630 (2002).

        Conversely, “[t]he requirement that a court have personal jurisdiction flows not from Art.

III, but from the Due Process Clause. The personal jurisdiction requirement recognizes and

protects an individual liberty interest.” Ins. Corp. of Ireland v. Compagnie des Bauxites de

Guinee, 456 U.S. 694, 702 (1982) (emphasis added). Thus, unlike subject matter jurisdiction,

“[b]ecause the requirement of personal jurisdiction represents first of all an individual right, it

can, like other such rights, be waived.” Id.

        The individual nature of this right limits who may challenge a judgment for lack of

personal jurisdiction. A “plaintiff generally must assert his own legal rights and interests, and

cannot rest his claim to relief on the legal rights or interests of third parties.” Sec’y of State of

Md. v. Joseph H. Munson Co., 467 U.S. 947, 955 (1984) (quoting Warth v. Seldin, 422 U.S. 490,

499 (1975)) (internal quotation omitted). Thus, the right to assert or waive the defense of

personal jurisdiction rests with the Caballero III defendants: FARC and the NDVC.

        This limit on third party standing is, admittedly, prudential. Joseph H. Munson Co., 467

U.S. at 956. Thus, there are “exceptions [which] permit third-party standing where the plaintiff

can demonstrate (1) a close relationship to the injured party and (2) a barrier to the injured


                                                   20
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 21 of 42




party’s ability to assert its own interests.” W.R. Huff Asset Mgmt. Co., LLC v. Deloitte &

Touche LLP, 549 F.3d 100, 109 (2d Cir. 2008).

        The Stansells and Pescatores cannot demonstrate the first prong. Their relationship with

FARC and the NDVC is entirely adversarial. They excoriate FARC for its “unspeakable

brutality” and “horrible acts.” ECF No. 331 at 7. If the Court permitted this challenge, the

quixotic result would be that the Stansells and Pescatores would effectively ally with FARC by

asserting its rights to defeat Caballero’s judgment, only to immediately turn on it to fulfill their

own judgment. “Keep your enemies closer” may be sound strategic counsel, but it is not the kind

of “close relationship” that supports third party standing.

        The Court has not identified any case that counsels departing from this prohibition

against third party standing in a collateral proceeding. Vera v. Banco Bilbao Vizcaya Argentaria,

S.A., 946 F.3d 120 (2d Cir. 2019), on which the Stansells and Pescatores rely, is inapposite for

two reasons. First, it addresses when subject matter, not personal jurisdiction can be challenged.

Id. at 135. Second, it involved proceedings against foreign sovereigns, which are accorded

special considerations under the Foreign Sovereign Immunity Act even if they do not appear.

See, e.g., Walters v. Indus. & Com. Bank of China, Ltd., 651 F.3d 280, 293 (2d Cir. 2011)

(“[T]he FSIA, by its terms, authorizes consideration of sovereign immunity from both

jurisdiction and execution even in the absence of an appearance by the sovereign.”) FARC is

entitled to no such regard.

        It is true that “before a court grants a motion for default judgment, it may first assure

itself that it has personal jurisdiction over the defendant . . . .” Sinoying Logistics Pte Ltd. v. Yi

Da Xin Trading Corp., 619 F.3d 207, 213 (2d Cir. 2010). “[T]he Second Circuit has noted”

however, ‘that it is an open question ‘whether a district court must investigate its personal



                                                   21
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 22 of 42




jurisdiction over a defendant before entering a default judgment . . . .’” Hood v. Ascent Med.

Corp., No. 13-cv-628 (RWS), 2016 WL 3453656, at *1 (S.D.N.Y. June 20, 2016), aff’d, 691 F.

App’x 8 (2d Cir. 2017) (quoting City of New York v. Mickalis Pawn Shop, LLC, 645 F.3d 114,

133 (2d Cir. 2011)) (emphasis in original).

       But, the Caballero III court has, even if implicitly, already satisfied itself that it had

jurisdiction to enter the default judgment. C.f., Nemaizer v. Baker, 793 F.2d 58, 65 (2d Cir.

1986) (“When a district court has not explicitly noted why it assumed jurisdiction over a suit,

appellate courts will independently examine the record to determine whether a reasonable basis

existed for the lower court’s implicit finding that it had jurisdiction.”) What the Stansells and

Pescatores ask then, is that this Court overturn Caballero III’s personal jurisdiction

determination. They do not have standing to make this challenge.

       “R” Best Produce, Inc. v. DiSapio, is equally inapposite because there, the defendant

(i.e., not a third party) sought to challenge the default judgment as void under Rule 60(b). 540

F.3d 115, 123 (2d Cir. 2008). It does not suggest that a nonparty may assert a defendant’s

personal jurisdiction defense. Indeed, as noted, nonparties cannot generally mount a collateral

attack using Rule 60. Rather, DiSapio vindicates the well-established principle that “[a]

defendant is always free to ignore the judicial proceedings, risk a default judgment, and then

challenge that judgment on jurisdictional grounds in a collateral proceeding.” Ins. Corp. of

Ireland, 456 U.S. at 706. That option is not available to the Stansells and Pescatores, who are

nonparties to the Caballero III judgment.

       D. Caballero’s Recovery is Not Restricted to Non-Economic Damages

       Caballero may recover for both the economic and non-economic damages awarded in

Caballero III. He was awarded $45,000,000 “in actual compensatory non-economic damages”



                                                  22
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 23 of 42




and $1,729,667.00 “in actual compensatory economic damages,” both of which were then trebled

under the ATA. Caballero III, 2020 WL 7481302, at *7. The Stansells and Pescatores argue that,

at most, Caballero is entitled only to the latter, not the former, since it was his father (who was

not a U.S. national), who was kidnapped and murdered, rather than him. Accordingly, he was not

a “national of the United States injured in his or her person . . . .” ECF No. 331 at 30.

       Setting aside whether the Stansells and Pescatores even have standing to collaterally

challenge a damage award, this argument is without merit. The Caballero III court relied on

Caballero II’s findings to render its damage judgment. 2020 WL 7481302, at *5. That state court,

in turn, awarded non-economic damages after hearing “excruciating testimony from Antonio

Caballero and [his expert] Dr. Diaz regarding the emotional distress and psychological trauma

that Antonio Caballero has suffered.” Caballero II, 2014 WL 12956652, at *4. It “accept[ed] Dr.

Diaz’s opinion that Antonio Caballero has, ever since the ordeal of his father’s kidnapping and

assassination, suffered, and continues to suffer, from depression, severe depressive disorder, and

post traumatic stress disorder.” Id.

       Nothing in the ATA bars a U.S. national like Caballero from recovering for such wrongs.

Linde v. Arab Bank, PLC, for example, found that the ATA covered “U.S. citizens suing for

various non-physical injuries, such as emotional distress and loss of consortium, after their

family members, who were not U.S. nationals, became victims of acts of international terrorism.

384 F. Supp. 2d 571, 589–90 (E.D.N.Y. 2005). Other courts have held likewise. See, e.g., Biton

v. Palestinian Interim Self-Gov’t Auth., 310 F. Supp. 2d 172, 182 (D.D.C. 2004); Ests. of Ungar

ex rel. Strachman v. Palestinian Auth., 304 F. Supp. 2d 232, 266–67 (D.R.I. 2004); see also

Lelchook v. Commerzbank AG, No. 10-cv-5795 (AKH), 2011 WL 4087448, at *2 (S.D.N.Y.

Aug. 2, 2011) (“[P]ermitting Plaintiffs to pursue claims for solatium damages is consistent with



                                                 23
        Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 24 of 42




  both the purpose of the ATA, and Congress’s intention to incorporate traditional tort-law

  principles into the statute.”)

          The Stansells and Pescatores proffer nothing in the text or history of the ATA that

  suggests a reason to depart from these rulings. Nor do they suggest that Caballero has collected

  enough to satisfy both the economic and non-economic damages awarded in Caballero III. The

  Court thus does not find that his judgment has been satisfied.5

IV.    The Stansells’ and Pescatores’ Full ATA Judgments Are For Compensatory Damages
       Collectible Under TRIA

          The Court now turns to Caballero’s arguments about the validity of the Stansells’ and

  Pescatores’ collections under TRIA §201(a). He argues that these parties obtained all the

  compensatory damages that they may collect under TRIA, and that their crossclaims against him

  should accordingly be dismissed. Stansells’ and Pescatores’ crossclaims, conversely, request that

  the Court declare that “[t]reble damages under the ATA are compensatory damages in nature as a

  matter of law” and that the Stansell I award was entirely for compensatory damages. See, e.g.,

  ECF No. 390 at 15.

          There is one further consideration. The Stansells’ and Pescatores’ ability to collect the

  full scope of their damages has also been challenged in a separate motion by intervenors Lopez

  Bello and Yakima. See ECF Nos. 86, 87, 90, 102, 105, 106. They proffer some different

  arguments from Caballero but he, Lopez Bello, and Yakima all assert that the Stansells and




  5
    An alternative reading of the Stansells’ and Pescatores’ challenge here could be that Caballero cannot be “injured
  in his person” because he was not a U.S. national at the time he suffered these injuries. Caballero III, however,
  considered and rejected this argument. 2020 WL 7481302, at *3 (S.D. Fla. May 20, 2020) (“[A] reading of the ATA
  permitting individuals who were not U.S. nationals at the time of the injury but subsequently become U.S. nationals
  to state a claim is consistent with Congress’ intention and furthers the ATA's purpose.”) Nothing in the Stansells’
  and Pescatores’ papers undermines or even addresses Caballero III’s reasoning on this point. Similarly, nothing
  suggests that they could mount a collateral challenge to that decision here.

                                                           24
        Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 25 of 42




Pescatores have exhausted what they may collect under TRIA. Accordingly, the Court has also

considered Lopez Bello’s and Yakima’s arguments where relevant.

         The parties’ dispute turns on the meaning and application of “compensatory damages” in

TRIA § 201(a) as applied to the treble damages provision of § 2333(a). TRIA § 201(a) provides

that:

                Notwithstanding any other provision of law . . . in every case in
                which a person has obtained a judgment against a terrorist party on
                a claim based upon an act of terrorism, or for which a terrorist party
                is not immune under section 1605(a)(7) of title 28, United States
                Code, the blocked assets of that terrorist party (including the
                blocked assets of any agency or instrumentality of that terrorist
                party) shall be subject to execution or attachment in aid of execution
                in order to satisfy such judgment to the extent of any compensatory
                damages for which such terrorist party has been adjudged liable.

TRIA § 201(a) (emphasis added). Thus, “§ 201(a) of the TRIA . . . permit[s] execution only ‘to

the extent of any compensatory damages.’” Bank Markazi v. Peterson, 578 U.S. 212, 220 n.7

(2016) (quoting TRIA § 201(a))(emphasis added).

         The ATA does not label its damages as compensatory or punitive. Rather, it states that

those who prevail on a claim “shall recover threefold the damages he or she sustains and the cost

of the suit, including attorney’s fees.” 18 U.S.C. § 2333(a). It is, in short, a treble damages

remedy. The question is what portion of those treble damages is collectable given that TRIA

permits the recovery only of “compensatory damages.”

         The Supreme Court has “placed different statutory treble-damages provisions on different

points along the spectrum between purely compensatory and strictly punitive awards.”

PacifiCare Health Sys., Inc. v. Book, 538 U.S. 401, 405 (2003). Thus, treble damages in the

False Claims Act (FCA) were characterized (with some later revision) as “essentially punitive in

nature . . . .” Vermont Agency of Nat. Res. v. U.S. ex rel. Stevens, 529 U.S. 765, 784 (2000). In

the Clayton Act, however, treble damages are “in essence a remedial provision.” Brunswick

                                                  25
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 26 of 42




Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 485 (1977). As well, “the treble-damages

provision contained in RICO itself is remedial in nature.” Book, 538 U.S. at 406. In short, “the

tipping point between payback and punishment defies general formulation, being dependent on

the workings of a particular statute and the course of particular litigation . . . . “ Cook Cty., Ill. v.

U.S. ex rel. Chandler, 538 U.S. 119, 130 (2003).

        Two points emerge from this guidance. The first is that while the status of treble damages

as punitive or compensatory may vary from statute to statute, or even perhaps depending on the

purpose for which the statute is invoked, the Supreme Court’s references to a “tipping point” and

ultimate formulation of various treble damages statutes as “essentially” punitive or

compensatory demonstrates that, in each case where the challenge arises, a court must determine,

if not generally, then at least for a given purpose, whether a particular treble damages provision

has a punitive or compensatory function.

        Am. Soc. of Mech. Engineers, Inc. v. Hydrolevel Corp., is instructive. 456 U.S. 556

(1982). There, a company brought antitrust claims against a professional society on an agent

theory of liability. The society responded that treble damages were punitive and under traditional

principles of agency law principals cannot be held liable for punitive damages based on the acts

of their agents. But, while Am. Soc. of Mech. Engineers, Inc. acknowledged “that antitrust treble

damages were designed in part to punish” antitrust violations, they were “created primarily as a

remedy for the victims of antitrust violations.” Id. at 575. Thus, it was “in accord with both the

purposes of the antitrust laws and principles of agency law to hold ASME liable for the acts of

agents” by treating the treble damages provision as compensatory. Id. at 576.

        The second point is that to determine which category a treble damages award belongs in,

the Court must look to both the operation of the treble damages statute and particularities of the



                                                   26
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 27 of 42




litigation resulting in that award. Chandler, 538 U.S. at 130. The Court thus addresses each of

these tests in turn.

         A. The ATA’s Treble Damages Provision is Compensatory

         The text and structure of the ATA demonstrate that its treble damages are compensatory

for the purposes of TRIA. As in any act of statutory interpretation, the “starting point must be the

language of the statute[].” Albernaz v. United States, 450 U.S. 333, 336 (1981).

         The text of ATA’s treble damages provision is very similar to those in the federal RICO

statute, 18 U.S.C. § 1964(c), and § 4 of the Clayton Act, codified at 15 U.S.C. § 15(a).6 These

two treble damages provisions have been found to be essentially compensatory and remedial.

Brunswick Corp., 429 U.S. at 485 (Clayton Act); PacifiCare Health Sys., Inc., 538 U.S. at 406

(RICO).

         It shares less in common with the treble damages text of the False Claims Act7, whose

function has seen somewhat more frequent revision. Compare Vermont Agency of Nat. Res., 529

U.S. at 784 (“[T]he current version of the FCA imposes damages that are essentially punitive in

nature …”) with Chandler, 538 U.S. at 130. (“[T]he facts about the FCA show that the damages

multiplier has compensatory traits along with the punitive.”) Thus, on a textual level, the ATA’s




6
  Compare 18 U.S.C. § 2333(a) (“Any national of the United States injured in his or her person, property, or
business by reason of an act of international terrorism. . . shall recover threefold the damages he or she sustains and
the cost of the suit, including attorney’s fees.”) with 15 U.S.C. § 15(a) (“[A]ny person who shall be injured in his
business or property by reason of anything forbidden in the antitrust laws . . . . shall recover threefold the damages
by him sustained, and the cost of suit, including a reasonable attorney’s fee.”) and 18 U.S.C. § 1964(c) (“Any person
injured in his business or property by reason of a violation of section 1962 of this chapter . . . shall recover threefold
the damages he sustains and the cost of the suit, including a reasonable attorney’s fee.”)
7
 31 U.S.C. § 3729(a)(1)(“Any person who [makes various false claims to the government] is liable to the United
States Government for a civil penalty of not less than $5,000 and not more than $10,000 . . . plus 3 times the amount
of damages which the Government sustains because of the act of that person.”)


                                                           27
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 28 of 42




treble damages statute is a closer relation to those treble damages provisions whose function has

been deemed primarily compensatory.8

         This, though, does not resolve the issue. The comparison of similar terms across different

statutes is a “relatively weak [interpretative] aid given that Congress may well have intended the

same word to have a different meaning in different statutes.” Firstar Bank, N.A. v. Faul, 253

F.3d 982, 991 (7th Cir. 2001). This is particularly true given that the Supreme Court has

expressly found different compensatory and punitive rationales for different treble damages

provisions. PacifiCare Health Sys., Inc., 538 U.S. at 405. Thus, while the ATA’s closet textual

relatives are compensatory, Chandler counsels that it is necessary to review the broader statutory

context and framework for a treble damages provision to mark it as compensatory or punitive.

538 U.S. at 132.

         The proper statutory framework here is the one established to create civil liability for

terrorism. This includes both the statutes creating causes of action for terrorism, and the statutes

that support the satisfaction of judgments for these claims: TRIA § 201(a) and 34 U.S.C. §

20144, which created the U.S. Victims of State Sponsored Terrorism Fund (“VSSTF”).

         The three relevant statutes that provide terrorism-specific causes of action are: (i) the

ATA, 18 U.S.C. § 2333(a); (ii) the exception to foreign sovereign immunity and concomitant


8
  Indeed, when interpreting federal treble damages provisions, the FCA appears to be the only one that defies
consistent treatment. Book is illuminating on this point. 538 U.S. 401. It begins by noting that “different statutory
treble-damages provisions [exist] on different points along the spectrum between purely compensatory and strictly
punitive awards. Id. at 405. As an example of a “punitive” treble damages provision, it cites Vermont Agency of
Nat. Res., which suggested that “the current [treble damages] version of the FCA imposes damages that are
essentially punitive in nature.” 529 U.S. at 784. Conversely, Book describes the Clayton Act and RICO treble
damages as “essentially,” “in essence” or otherwise primarily remedial. 538 U.S. at 405–06. That, at least, would be
a simple enough spectrum with RICO and the Clayton Act on the compensatory end, and the FCA on the punitive
end. Chandler, though, decided just three years after Vermont Agency of Nat. Res., found that, far from being
“essentially punitive” “the facts about the FCA show that the damages multiplier has compensatory traits along with
the punitive.” 538 U.S. at 130. This would suggest that, rather than federal treble damages existing on a spectrum, it
makes more sense to sort them into two camps. One camp would house the Clayton Act, RICO, and the ATA, which
are textually similar and primarily remedial in their aims. The other would hold the FCA, which has a textually
distinct treble damages clause, and which has been found to have a more fluid purpose.

                                                         28
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 29 of 42




cause of action at 28 U.S.C. § 1605A (“§ 1605A”), which targets state sponsors of terror; and

(iii) the exception for foreign sovereign immunity and cause of action created by the Justice

Against Sponsors of Terrorism Act (JASTA) at 28 U.S.C. § 1605B (“§ 1605B”), which targets

support for terrorism by states who have not been designated state sponsors of terror.

        Together, these three statutes form the nucleus of American civil liability for terrorism.

JASTA explicitly imported § 2333(a) as the private right of action for § 1605B. 28 U.S.C. §

1605B(c) (“Notwithstanding section 2337(2) of title 18, a national of the United States may

bring a claim against a foreign state in accordance with section 2333 of that title . . . .”). It also

modified 18 U.S.C. § 2333(d) to provide for aiding and abetting liability.

        Moreover, because § 1605A and § 1605B are both part of the Foreign Sovereign

Immunities Act and deal with the same subject matter, they are often referenced together or

interpreted by reference to each other. See, e.g., A.A. v. Att’y Gen. United States, 973 F.3d 171,

184 n. 8 (3d Cir. 2020) (discussing both statutes in the context of judicial evaluation of foreign

sovereign action); In re Terrorist Attacks on Sept. 11, 2001, 298 F. Supp. 3d 631, 645 (S.D.N.Y.

2018) (evaluating causation in § 1605B by reference to cases analyzing § 1605A); Gonzalez v.

Google, Inc., 282 F. Supp. 3d 1150, 1160 (N.D. Cal. 2017) (assessing the scope of statutory

immunity in § 1605B by reference to § 1605A); Bartlett v. Societe Generale de Banque au Liban

SAL, No. 19-cv-007 (CBA)(TAM), 2021 WL 3706909, at *11 n.7 (E.D.N.Y. Aug. 6, 2021)

(evaluating JASTA’s statutory history with reference to § 1605A). These three statutes and the

connective tissue between them created by JASTA are thus the appropriate statutory framework

in which evaluate whether the ATA’s damages are punitive or compensatory.

        Of the three, only § 1605A explicitly provides for punitive damages (“damages may

include economic damages, solatium, pain and suffering, and punitive damages”). JASTA does



                                                   29
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 30 of 42




not reference punitive damages. Instead, it waives sovereign immunity for cases in “which

money damages are sought,” § 1605B(b), and permits certain plaintiffs to bring the kind of §

2333(a) actions brought by Caballero, the Stansells, and the Pescatores against foreign states as

well. § 1605B(c).

       The difference is instructive. Section 1605A’s explicit reference to punitive damages

shows that Congress knows how to frame a terrorism liability statute to provide for punitive

damages. That it did not do so suggests that it did not intend for the damages in § 2333(a) to be

punitive. See, e.g., Meghrig v. KFC W., Inc., 516 U.S. 479, 485 (1996) (“Congress thus

demonstrated in [one statute] that it knew how to provide for the recovery of cleanup costs, and

that the language used to define the remedies under [an analogous statute] does not provide that

remedy.”), Whitfield v. United States, 543 U.S. 209, 216 (2005) (“Congress has included an

express overt-act requirement in at least 22 other current conspiracy statutes, clearly

demonstrating that it knows how to impose such a requirement when it wishes to do so.”)

       Moreover, recognizing that § 1605A provides for compensatory and punitive damages,

while § 2333(a), and by extension § 1605B provides for compensatory treble damages reveals

the elegance of Congress’s civil liability for terrorism system. At first glance, this system would

seem unfair to claimants under § 1605A (i.e., victims of state sponsored terror) since only the

compensatory part of their damages are collectable through TRIA, while JASTA and other §

2333 claimants could use TRIA to claim the whole of their damages.

       But § 1605A claimants have a different advantage. Their compensatory damages may be

fulfilled not only by pursuing the assets of terrorists and terror states, but through a claim to the

VSSTF. This fund authorizes payments to people who hold an eligible judgment against a state

sponsor of terrorism. See generally 34 U.S.C. § 20144. It is not similarly available to victims of



                                                  30
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 31 of 42




terrorism who were harmed by terrorist groups themselves or states that have not been

designated sponsors of terror. 34 U.S.C. § 20144(c)(2)(A).

       Compensatory treble damages create an effective counterweight to this disadvantage and

balance terrorism litigants’ advantages and disabilities. Victims of terror who bring suit under §

1605A have a safety net. Even if they can attach no assets, they can bring suit safe in the

knowledge that there is a reliable way to collect their compensatory damages. They cannot,

though, rely on TRIA § 201(a) to collect whatever punitive damages they are awarded. Those

that claim under § 2333(a) and by extension under § 1605B have no such security. If they want

to satisfy their judgments, they will have to find and attach assets. Compensatory treble damages

though, gives these plaintiffs an equal incentive to bring terrorism claims knowing that they may

rely on TRIA §201(a) to collect their entire judgment.

       This incentive structure further marks § 2333(a)’s treble damages as compensatory. The

Supreme Court has found treble damages provisions compensatory where, in addition to

remedying a victim’s harms, damages are also necessary to incentivize victims to bring

particularly challenging or socially beneficial suits. As the Court explained in Agency Holding

Corp. v. Malley-Duff & Assocs., Inc.:

               Both RICO and the Clayton Act are designed to remedy economic
               injury by providing for the recovery of treble damages, costs, and
               attorney’s fees. Both statutes bring to bear the pressure of “private
               attorneys general” on a serious national problem for which public
               prosecutorial resources are deemed inadequate; the mechanism
               chosen to reach the objective in both the Clayton Act and RICO is
               the carrot of treble damages.

483 U.S. 143, 151 (1987). Chandler applied the same logic to “qui tam [FCA] cases [where] the

rough difference between double and triple damages may well serve not to punish, but to quicken

the self-interest of some private plaintiff who can spot violations and start litigating to

compensate the Government, while benefiting himself as well.” 538 U.S. at 131.

                                                  31
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 32 of 42




       The same is true here. “Like . . . antitrust, commodities fraud, and racketeering laws . . .

the ATA’s legislative history reflects that Congress conceived of the ATA, at least in part, as a

mechanism for protecting the public’s interests through private enforcement.” Linde v. Arab

Bank, PLC, 706 F.3d 92, 112 (2d Cir. 2013). The Supreme Court has found treble damages

clauses motived by similar goals in the antitrust and racketing statutes to be compensatory and

remedial, rather than punitive. These additional damages compensate plaintiffs for the burdens

and risks of being private attorneys general who are willing to bring challenging yet publicly

beneficial lawsuits. It stands to reason that the ATA’s treble damages provision, enacted for

comparable reasons, functions comparably. There is no indication that Congress intended to

shortchange its private attorneys general when they strike at terrorists rather than at antitrust

violators or racketeers.

       Conversely, labeling the ATA’s damages even partially punitive would create a cascade

effect that could destabilize the system of civil terrorism liability. Under 28 U.S.C. § 1606, “a

foreign state . . . shall not be liable for punitive damages.” This is no issue for claims brought

under § 1605A, which expressly permits claimants to seek punitive damages. See, e.g., Gates v.

Syrian Arab Republic, 580 F. Supp. 2d 53, 74 (D.D.C. 2008) (“As amended, the FSIA now

specifically allows an award of punitive damages for personal injury or death resulting from an

act of state-sponsored terrorism.”) (citing 28 U.S.C. § 1605A(c)).

       It is, however, a problem for § 2333(a) claims brought against foreign sovereigns under §

1605B. This statute, relying as it does on § 2333(a) for a cause of action, contains no similar

carveout for punitive damages. If, as Caballero urges, some part of the ATA’s treble damages are

punitive, it would necessarily follow that a foreign state who carried out an act of terror would

nonetheless be immune to the punitive component of those damages. But the point of the



                                                  32
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 33 of 42




sovereign immunity exceptions for terrorism is “permitting massive judgments of civil liability

against nations that sponsor terrorism.” Leibovitch v. Islamic Republic of Iran, 697 F.3d 561,

571 (7th Cir. 2012). Nowhere is this truer than with JASTA, whose “purpose . . . is to provide

civil litigants with the broadest possible basis, consistent with the Constitution of the United

States, to seek relief” from foreign states and entities who support acts of international terror.

JASTA, PL 114-222, 130 Stat 852 § 2(b) (emphasis added).

        The Court acknowledges that opinion on this is not uniform. Numerous cases have

described the ATA’s treble damages as punitive. These opinions draw primarily on two

arguments. The first argument relies on the ATA’s legislative history. Ungar is the primary

exemplar of this school. 304 F. Supp. 2d 232. It found that “the legislative history of Section

2333 shows an unequivocal congressional intent to deter acts of international terrorism and

punish those who commit such acts against American citizens.” Ungar, 304 F. Supp. 2d at 238.

On that basis, it determined that “the treble damages provision of Section 2333 is

overwhelmingly punitive.” Id. at 237.9 Caballero III relied on Ungar in similarly determining that

§ 2333’s treble damages award was punitive. 2020 WL 7481302, at *6.

        These interpretations, however, are inconsistent with Linde, 706 F.3d at 112, which

found that Congress had substantial remedial and compensatory objectives for the ATA. Linde’s

assessment also aligns better with the text of the ATA and its broader placement in the statutory

framework of civil liability for terrorism.




9
  Ungar references Smith ex rel. Smith v. Islamic Emirate of Afghanistan, as further support. 262 F. Supp. 2d 217
(S.D.N.Y. May 7, 2003). Smith, however, notes primarily that it is inappropriate to assess punitive damages where
statutory treble damages are already provided for. Id, at 240 n.38. Smith is also referenced for the same purpose in
Rosenberg v. Lashkar-e-Taiba, No. 10-cv-5381(DLI)(CLP), 2014 WL 12834840, at *27 n.33 (E.D.N.Y. Aug. 1,
2014), and Est. of Parsons v. Palestinian Auth., 715 F. Supp. 2d 27, 31 n.1 (D.D.C. 2010), aff’d, 651 F.3d 118 (D.C.
Cir. 2011), each of which simply notes that separate punitive damages do not appear to be appropriate given the
availability of a treble damages award.

                                                         33
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 34 of 42




       The second line of argument discusses punitive damages in passing as part of a broader

analysis of the mental state required for ATA liability. This reasoning begins with the premise

that treble damages are generally punitive. These punitive damages, in turn, are usually only

available if a tortfeasor acts with malice or some similar state of mind. Boim v. Holy Land

Found. for Relief & Dev. is the leading case for this argument. 549 F.3d 685 (7th Cir. 2008). It

notes that “[t]reble damages too, not being compensatory, tend to have a punitive aim.” Id. Such

damages, it notes, “are rarely if ever imposed unless the defendant is found to have engaged in

deliberate wrongdoing.” Id. at 692. The Court of Appeals for the D.C. Circuit, albeit in dicta,

similarly noted that “[b]ecause treble damages usually have a punitive aim, several courts have

also interpreted § 2333 to require that a defendant act with some scienter above negligence,

independent of any scienter required to commit the predicate act of international terrorism.”

Owens v. BNP Paribas, S.A., 897 F.3d 266, 270 n.2 (D.C. Cir. 2018) (citing Boim, 549 F.3d at

692–93).

       Several lower courts have adopted Boim’s reasoning. See, e.g., Strauss v. Credit

Lyonnais, S.A., 925 F. Supp. 2d 414, 428 (E.D.N.Y. Feb. 28, 2013) (referencing Boim in a

discussion of “the punitive treble damages provision in Section 2333(a)”), Goldberg v. UBS AG,

660 F. Supp. 2d 410, 428 (E.D.N.Y. 2009) (referencing Boim in discussing treble damages as a

having a “punitive element”); Kaplan v. Jazeera, No. 10-cv-5298 (KMW), 2011 WL 2314783, at

*4 (S.D.N.Y. June 7, 2011) (adopting Boim and Goldberg’s view of § 2333 damages as

punitive).

       Two issues render these cases unpersuasive. First, Boim’s blanket labeling of treble

damages as “not compensatory” is out of step with the Supreme Court cases identifying various




                                                34
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 35 of 42




non-punitive rationales for imposing treble damages and finding several such statutes to be

primarily remedial and compensatory.

        Second, characterization of treble damages as punitive in Boim is dicta that was not only

nonessential to the scienter question at issue, but has also been rendered progressively less

relevant by subsequent legal developments. Decisions like Abecassis v. Wyatt, addressed the

issue of scienter in the ATA without any discussion of treble damages. 704 F. Supp. 2d 623, 657

(S.D. Tex. 2010). Gill v. Arab Bank, PLC, while accepting that treble damages were punitive,

noted that for primary ATA liability, “an ATA plaintiff will have to prove a violation of some

federal or state criminal law. Presumably, it will usually be one or more of the federal material

support statutes; each of those statutes, as noted, has its own requirements regarding the requisite

mental state.” 893 F. Supp. 2d 474, 504 (E.D.N.Y. 2012).

        As well, Congress subsequently refined the scienter requirements in the ATA, addressing

the secondary liability issues confronted in Boim. JASTA modified § 2333 to provide for

secondary aiding and abetting liability for acts of terror and an explicit mens rea for that cause of

action. JASTA, PL 114-222, 130 Stat 852 § 4(d). The issues that animated Boim have thus

become less salient. Given that, as well as the friction between Boim’s dicta and the Supreme

Court’s guidance on treble damages, the Court does not find it to be a sound basis for

reengineering the ATA’s damages provision and by extension, the framework for civil terrorism

liability.

        Nor is this Court the only one to find that the ATA’s treble damages are not punitive. Of

its fellow travelers, the most persuasive and relevant is Judge Brown’s concurrence in Est. of

Parsons v. Palestinian Auth., 651 F.3d 118 (D.C. Cir. 2011) (Brown, J., conc.). There, the

Palestinian Authority argued that “it cannot be held vicariously liable for its employees’ acts



                                                 35
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 36 of 42




because the ATA awards treble damages, which the Palestinian Authority equates with punitive

damages . . . .” Id. at 148. This, Judge Brown found, “is false. Treble damages are statutory or

liquidated damages—not punitive damages.” Id. In support, Judge Brown notes that while the

Restatement of Agency (Second) limits the award of punitive damages against a principal for the

acts of an agent, treble damages are expressly excluded from this rule. Id. (citing Restatement

(Second) of Agency § 217C, cmt. (c)). That concurrence acknowledged that while “courts have

characterized treble damages as ‘punitive’ for other purposes,” that rationale was inapposite

given both the Restatement and the evidence from the ATA’s legislative history that its rationale

is similar to the nonpunitive rationale animating antitrust laws. Id. at 148 n.10.

         This reasoning was subsequently approved in Sokolow, 60 F. Supp. 3d at 516. Similarly,

the comparison of the ATA’s treble damages clause to the compensatory damages provisions of

RICO and the Clayton Act led the Stansell II court to determine that the Stansells’ entire

judgment was compensatory. 2020 WL 4692748, at *2. In short, courts that have explicitly

contextualized the ATA’s treble damages alongside comparable provisions in RICO and the

Clayton Act have found them, as the Court does here, to be compensatory.

         B. The Course of Litigation Reveals that the Stansell I Award Is Compensatory

         The course of this litigation, the Supreme Court’s second means of assessing the nature

of treble damages, further confirms the compensatory nature of the Stansell I award.10 The

10
   It is, admittedly, odd that ATA treble damages might be a sort of Schrodinger’s Award, both compensatory and
punitive until revealed by the course of litigation. If the ATA’s treble damages are, as the preceding analysis
indicates, compensatory, then it seems like that ought to remain so regardless of the course of litigation. The culprit
behind this somewhat unusual test is likely the FCA. It was Chandler, 538 U.S. at 130, an FCA case, that created the
test. The FCA, in turn, differs from the Clayton Act, RICO, and ATA because it includes qui tam provisions under
which a private party may bring suit in the name of the United States. The Attorney General then has the option to
adopt the action while still diverting a variable percentage of the damages to the person who brought the original
action. See generally 31 U.S.C. § 3730(d). Thus, the nature of a FCA claim and the allocation of damages may
indeed change, possibly substantially, over the course of the litigation depending on if and how the government
adopts the suit. As a result, the degree to which an award is punitive or compensatory might change. No comparable
provision exists in the Clayton Act, RICO, or ATA. Nonetheless, nothing in Chandler suggests that the “course of
litigation” element is an FCA-only test in the realm of treble damages. Moreover, the parties have invested

                                                          36
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 37 of 42




phrase “punitive damages” is noticeably absent from opinions and moving papers. While the

Stansells’ June 7, 2010 motion for damages discussed various opinions awarding compensatory

damages, its actual request was “that this court award non-economic damages . . . with each

award then subject to trebling under § 2333 (a).” ECF No. 259-1 at 57. It did not request or

insinuate that its damages should be divided into compensatory and punitive elements.11

         As well, Stansell I made no reference to “punitive damages.” 2010 WL 11507790, at *4.

Instead, it settled on its award amount after analyzing various cases calculating how

compensatory damages are assessed for terrorists’ hostages. It determined that the standard

formula involved a per diem sum per day of captivity plus an additional lump sum when those

hostages are tortured, to account for their heightened pain and suffering. Id. at *3 (collecting

cases). No part of that analysis suggested that punitive or deterrent purposes animated the court’s

reasoning. Instead, it identified the appropriate “non-economic damages” for each award “with

each award then subject to trebling under § 2333(a).” Id. at *4. The resulting default judgment

then described the full sum of these awards (i.e., the non-economic damages plus the trebling) as

“compensatory damages.” ECF No. 259-3 at 1-2

         Were that not clear enough, more than a dozen subsequent orders on writs of garnishment

issued under TRIA from the same judge who issued Stansell I (the Hon. Richard A. Lazzara)

describe the Stansell judgment as purely compensatory. See ECF Nos. 252 at 3 (“Plaintiffs’

Judgment is solely for compensatory damages.”), 261 at 3 (same), 300 at 12 (same), 322 at 11



considerable energy in discussing the implications of prior litigation to their claims, so they have effectively briefed
the question and the course of litigation test provides a suitable framework for analyzing these arguments. Finally,
the ATA’s text and structure as well as the course of the litigation point towards the same conclusion regardless.
11
   Since they did not request such a division, the Stansells are not, contrary to Lopez Bello’s assertion at ECF No. 87
at 27, estopped from arguing that the whole of their damages are compensatory. Lopez Bello made this argument in
Stansell III, and those arguments were rejected for similar reasons. No. 09-cv-2308, ECF No. 1222 at 15 n.5.


                                                           37
      Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 38 of 42




(same); see also ECF No. 323 at 10 (“Plaintiffs have a federal district court judgment for

compensatory damages only under the Anti-Terrorist Act against the FARC . . . .”), 324 at 10

(same), 325 at 10 (same), 326 at 13 (same), 327 at 13 (same), 395 at 10 (same), 396 at 10 (same),

397 at 10 (same), 398 at 10, (same), 623 at 10 (same).12

        Two subsequent orders by separate judges further confirm that the Stansell I damages are

compensatory. First, in 2020, the Stansell Plaintiffs sought and obtained a declaratory judgment

in the Southern District of Florida. Drawing on the compensatory nature of the Clayton Act and

RICO statutes’ treble damages provisions as well as Judge Lazzara’s repeated confirmation that

the Stansell I award was compensatory, the Stansell II court determined “that the $318,030,000

judgment is for compensatory damages.” 2020 WL 4692748, at *1–2. Stansell II also noted that

the Court of Appeals for the Eleventh Circuit (albeit in dicta) described Stansell I as “a default

judgment against FARC for $318 million in compensatory damages.” Id. at *2 (citing Stansell v.

Revolutionary Armed Forces of Colombia, 704 F.3d 910, 913 (11th Cir. 2013)).

        Then, a few months after Stansell II, the judge in the original Stansell case (now the Hon.

Charlene E. Honeywell), denied a Rule 60(a) motion by Lopez Bello. See Stansell III, No. 09-cv-

2308, ECF No. 1222. That motion sought to amend the judgment “to remove references to

compensatory damages.” Id. at 5 (internal quotations omitted). In rendering this decision, the

Stansell III court found it insignificant that Stansell I sometimes referenced compensatory and

treble damages separately. Rather, it concluded that these references were “subtotal

compensatory awards” then subject to trebling. Id. at 9–10. Accordingly, “the Court’s review

suggests that the Court intended for the judgment to be entered in an amount of compensatory




12
  All ECF numbers in the preceding sentences refer to the docket for Stansell et al. v. Revolutionary Armed Forces
of Colombia (FARC) et al., No. 09-cv-2308 (CEH)(AAS) (M.D. Fla. Nov. 12, 2009).

                                                        38
        Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 39 of 42




damages,” and that Lopez Bello “fail[ed] to demonstrate that the Court intended for the treble

damages to serve a purpose other than compensatory damages . . . .” Id. at 15.13

           In sum, even discounting the dicta from the Court of Appeals for the Eleventh Circuit,

three judges across two districts have determined that the full sum of Stansell I was for

compensatory damages. They have done so in two well-reasoned orders and more than a dozen

garnishment orders. Not once during the years of Stansell litigation has a court described the

Stansell I damages as anything but compensatory.

           Thus, both tests discussed in Chandler mark the Stansell I award as compensatory. The

ATA’s treble damages provision is compensatory and judges in the Stansell litigation have

awarded compensatory damages accordingly, so the whole judgment is collectable through TRIA

§ 201(a).

 V.        Resolution of Crossclaims

           Both parties sought declaratory judgments establishing the enforceability of their

judgment and the unenforceability of their opponents’. The Stansells and Pescatores sought that

declaration on the grounds that the Caballero III court lacked subject matter or personal

jurisdiction, and that regardless, the judgment was satisfied. These claims are without merit.

Caballero sought to dismiss the claims against him on the grounds that, owing to the nature of

the ATA’s treble damages clause, he was the only person entitled to collect on the assets at issue

here. This claim, as well, fails.

           To apply these findings to the remainder of this litigation, the Court recommends

granting in part and denying in part the Stansells’ and Pescatores’ motion for judgment on the

pleadings by entering a declaratory judgment holding that:



13
     The Court also noted that Lopez Bello’s proposed relief was beyond what was permissible under Rule 60(a).

                                                          39
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 40 of 42




   1. The full $318,030,000 sum of the Stansell I award is for compensatory damages;

   2. The Caballero III judgment is not void as a matter of law for lack of subject matter

       jurisdiction or personal jurisdiction; and

   3. Caballero is entitled to collect both the economic and non-economic compensatory

       damages awarded in Caballero III.

       It recommends that the Caballero’s, the Stansells’, and the Pescatores’ crossclaims be

dismissed to the degree that they are inconsistent with this judgement. This declaratory judgment

partially addresses the issues raised by Lopez Bello and Yakima. The Court recommends

addressing the question of whether Lopez Bello and Yakima are agents or instrumentalities of

FARC in a subsequent opinion. Lopez Bell and Yakima may, however, object to this Report and

Recommendation exclusively to address the issue of treble damages under the ATA.

                                         CONCLUSION

       The Court recommends entering a declaratory judgment that (1) the full $318,030,000

award of Stansell I is for compensatory damages; (2) Caballero’s ATA judgment is not void as a

matter of law for lack of subject matter jurisdiction or personal jurisdiction; and (3) Caballero is

entitled to collect both the economic and non-economic compensatory damages awarded in his

judgment. To the degree that the Stansell, Pescatore, and Caballero crossclaims are inconsistent

with this declaratory judgment, it recommends that they be dismissed. It recommends that the

outstanding issues raised by Lopez Bello and the Yakima Trading Company be addressed in a

subsequent opinion. Lopez Bello and the Yakima Trading Company are permitted, however, to

address the issue of treble damages in the ATA as part of any objection to this Report and

Recommendation.




                                                    40
     Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 41 of 42




       As oral argument is not necessary to resolve this motion, the Court respectfully directs

the Clerk of the Court to deny the motion at ECF No. 373 and to terminate the motion at ECF

No. 330.




DATED: March 29, 2022
       New York, New York


                                *                *                 *

                     NOTICE OF PROCEDURE FOR FILING OBJECTIONS
                        TO THIS REPORT AND RECOMMENDATION

       The parties shall have fourteen days from the service of this Report and Recommendation

to file written objections pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules

of Civil Procedure. A party may respond to another party’s objections within fourteen days after

being served with a copy. Fed. R. Civ. P. 72(b)(2). Such objections shall be filed with the Clerk

of the Court, with courtesy copies delivered to the chambers of the Honorable Lorna G.

Schofield at the United States Courthouse, 40 Foley Square, New York, New York 10007, and to

any opposing parties. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72(b). Any requests

for an extension of time for filing objections must be addressed to Judge Schofield. The failure to

file these timely objections will result in a waiver of those objections for purposes of appeal. See

28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72(b); Thomas v. Arn, 474 U.S. 140 (1985).




                                                 41
                    Case 1:16-mc-00405-LGS-SN Document 443 Filed 03/29/22 Page 42 of 42




                                                         Appendix A

                         Table 1: Stansell Third-Party Complaints, Answers, and Crossclaims
                      Documents that address multiple filings may appear on this table more than once.
                             Numbers reflect the document’s ECF number on No. 16-mc-405.
 Third-      Third-Party   The Stansells’ and        Caballero’s      The Stansells’ and      The Stansells’         The Stansells’
 Party       Complaint     Pescatores’ Answer        Answer and           Pescatores’              and              and Pescatores’
Garnishee                  to the Third-Party        Crossclaim      Amended Answer to         Pescatores’             Amended
                                Complaint            Against the       the Third-Party          Answer to             Answer to
                             and Crossclaim         Stansells and         Complaint            Caballero’s            Caballero’s
                            Against Caballero        Pescatores         and Crossclaim         Crossclaim             Crossclaim
                                                                      Against Caballero
Equiniti         208                254                    376                268                                         390
                                                                                                   N/A
Citibank         225                256                    258                273                                         N/A
                 227                   255                   261                  272                                     390
                                                                                                       279
                 229                   257                   266                  N/A                                     N/A

            280 (amending                310                  301                  318                  N/A            318, 390
                 229)
            A separate line of filings concerns Citibank’s answer to a writ of garnishment transferred from the Southern District of
            Florida. This line begins at ECF No. 93, with Citibank’s second amended answer, followed by a third amended answer
             at ECF No. 324. Caballero answered at ECF No. 335, and the Stansells and Pescatores included a response to that in
                                                     their omnibus answer at ECF No. 390.
Sumitomo         234                     251                  262                  269
Mitsui           236                     252                  263                  270
                                                                                                        279              390
                 238                     253                  264                  271
